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 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                                DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,     )            CASE NO. 2:10-cr-0075-PMP-PAL
                                   )
12                  Plaintiff,     )            [PROPOSED] ORDER FOR PERMISSION
                                   )            TO TRAVEL
13        v.                       )
                                   )            (UNOPPOSED)
14   GRIGOR KARAPETIAN, et al.     )
                                   )
15                  Defendant.     )
                                   )
16   ______________________________)            Hon. Philip M. Pro
17
18         IT IS HEREBY ORDERED that defendant Grigor Karapetian be
19   allowed to travel from his home in Las Vegas, Nevada to the offices
20   of his attorney of record in Los Angeles, California on Wednesday,
21   August 25, 2010 to return to his home in Las Vegas by 2:00 p.m. on
22   Saturday, August 28, 2010, for purposes of discussing discovery in
23   his pending criminal case.
24
25   Dated:
26                                              HONORABLE
                                                HONORABLEA.  HOWARD
                                                           PHILIP     MATZ
                                                                  M. PRO
                                                U.S. DISTRICT COURT JUDGE
27
28
